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 6                                    UNITED STATES DISTRICT COURT
                                           DISTRICT OF NEVADA
 7

 8   CHRISTOPHER J. HADNAGY, an                              Case #    2:23-cv-01345
     individual; and SOCIAL-ENGINEER LLC,
 9
     a Pennsylvania limited liability company,               VERIFIED PETITION FOR
l0                   Plaintiff(s),                           PERMISSION TO PRACTICE
                                                             IN THIS CASE ONLY BY
ll          vs.                                              ATTORNEY NOT ADMITTED
     JEFF MOSS, an individual, and DEF CON                   TO THE BAR OF THIS COURT
12
     COMMTINICATIONS, INC., a Washington                     AND DESIGNATION OF
                                                             LOCAL COUNSEL
13   corporation, et al.
                      Defendant(s).
14                                                           FILING FEE IS $25O.OO
l5

16                         David A.Perez            Petitioner, respectfully represents to the Court
                        (name of
17
               I        That Petitioner is an attorney at law and a member of the law firm of
l8
                                                Perkins Coie LLP
19                                                  (firm name)

20    with offices at                             1201 Third Ave, Suite 4900

2l
                            Seattle                              Washington                      98101
22                          c                                         (state)                   ( ztp c

ZJ                  206-359-8000                      DP er ez@p erkinsco ie. com
        area         +te                                   (Email address)
24
               2.       That Petitioner has been retained personally or as a member of the law firm by
25
      Jeff Moss and Def Con Communications, Inc. to provide legal representation in connection with
26

27   the above-entitled case now pending before this Court.

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                                                                                                          Rev.5/16
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 I           3.      That since             9lr5l20rt           Petitioner has been and presently is a

 2   member in good standing of the bar of the ighest Court of the State of               Washington

 3   where Petitioner regularly practices law. Petitioner shall attach a certificate fr"rn lirt3t|Lte bar or

 4   from the clerk of the supreme court or highest admitting court of each state, territory, or insular

 5   possession of the United States in which the applicant has been admitted to practice law certifying

 6   the applicant's membership therein is in good standing.

 7           4.      That Petitioner was admitted to practice before the following United States District

 8   Courts, United States Circuit Courts of Appeal, the Supreme Court of the United States and Courts

 9   of other States on the dates indicated for each, and that Petitioner is presently a member in good

l0   standing of the bars of said Courts.

11                        Court                                DateAdmitted    Bar Number

t2                    Washington State                       September 15,2011     43959

13                       Oregon State                            hne 16,2023                  23r84r

t4            Washington State Supreme Court                       9/rs12011

15           Supreme Court of the United States                    rr/U20t6

l6      United States Court of Appeals, First Circuit              81812018

t7     United States Court of Appeals, Fourth Circuit              2/ll20t6

18                     See attachment I

l9
             5.     That there are or have been no disciplinary proceedings instituted against petitioner,
20
     nor any suspension of any license, certificate or privilege to appear before any judicial, regulatory
2t
     or administrative body, or any resignation or termination in order to avoid disciplinary or
22
     disbarment         dings, except as described in detail below
23
       one
24

25

26

27

28                                                      2                                            Rev.5/16
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 I           6.       That Petitioner has never been denied admission to the State Bar of Nevada. (Give

 2   particulars if ever denied admission):

 3   None

 4

 5

 6           7.       That Petitioner is a member of good standing in the following Bar Associations.

 7   Washington State Bar
     Oregon State Bar
 8

 9

l0           8.       Petitioner has filed application(s) to appear as counsel under Local Rule IA ll-2

l1   (formerly LR IA l0-2) during the past three (3) years in the following matters: (Srate "none" if no applications.)

t2   Date of Application                Cause                         Title of Court                 Was Application
                                                                    Administrative Body                 Granted or
13                                                                    or Arbitrator                       Denied

t4             None

15

l6
17

18

t9                      (If necessary, please attach a statement of additional applications)
20           9.       Petitioner consents to the jurisdiction of the courts and disciplinary boards of the

2t   State of Nevada with respect to the law of this state governing the conduct of attorneys to the same

22   extent as a member of the State Bar of Nevada.

23           10.      Petitioner agrees to comply with the standards of professional conduct required of

24   the members of the bar of this court.
25           I l.     Petitioner has disclosed in writing to the client that the applicant is not admitted to

26   practice in thisjurisdiction and that the client has consented to such representation.

27

28                                                           a
                                                             J                                                 Rev.5/16
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 I           That Petitioner respectfully prays that Petitioner be admitted to practice before this Court

 2   FOR THE PURPOSES OF THIS CASE ONLY

 3

 4                                                                              S

     STATE OF           Washington
 5
     COLTNTY OF                  King
 6

 7                  David A.Perez             Petitioner, being first duly sworn, deposes and says

 8   That the foregoing statements are true.

 9
                                                                                    slgn
                                                                                           lr
l0   Subscribed and sworn to before me this

l1
       2                                ]                  20?a
l2
13
                        otary                     C ourt
t4
15

16                   DESIGNATION OF RESIDENT ATTORNEY ADMITTED TO
                      THE BAR OF THIS COURT AND CONSENT THERETO.
t7
             Pursuant to the requirements of the Local Rules of Practice for this Court, the Petitioner
18
     believes it to be in the best interests of the client(s) to designate            Bob Cassity
l9                                                                             (name of local counsel)
     Attorney at Law, member of the State of Nevada and previously admitted to practice before the
20
     above-entitled Court as associate resident counsel in this action. The address and email address of
21
     said designated Nevada counsel is:
22

23                                       9555 Hillwood Drive 2nd Floor
                                                   (street address)
24
                       Las Vegas                                      Nevada                        89t34
25                      (city)                                         state                     (zip

26               702-669-4609_,                        bcassity@ho llandhart. c om

27

28                                                         4                                             Rev. 5/16
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 I   By this designation the petitioner and undersigned party(ies) agree that this designation constitutes

 2   agreement and authorization for the designated resident adrnitted counsel to sign stipulations

 5   binding on all of us.

 4

 5               APPOINTMENT OF DESIGNATED RESIDENT NEVADA COUNSEL
 6

 7            The undersigned parfy(ies) appoint(s)                    Bob Cassity                    AS
                                                            ( name
 8   his/her/their Designated Resident Nevada Counsel in th ls case.

 9

10                                          /s/ Jeff Moss
                                           (parfy's signature)
ll                                         Jeff Moss
l2                                         (type or print parfy name, title)

l3                                          /s/ Jeff Moss
                                                      S

l4
15                                         Jeff Moss o/b/o Def Con Communications
                                                 or     party name,  e
t6

t7                                 CONSENT OF DESIGNEE
              The undersigned hereby consents to serve as associate resident Nevada counsel in this case
l8
19
                                            /s/ Robert J. Cassity
20                                         Designated Resident Nevada Counsel's signature

2l                                         gljg                          bcassity@hollandhart.com
                                           Bar num
22

23
     APPROVED:
24
     Dated:   this        day of                          20
25

26
     I.INITED STATES DISTRICT JUDGE
27

28                                                        5                                         Rev.5/16
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                                          Attachment I
                             Pro Hac Vice Application: David A. Perez
                        United States District Court, District of Nevada


                     Court                                       Date Admitted

United States Court of Appeals, Ninth Circuit     September 26,2011

United States Court of Appeals, Eleventh          April 1,2013
Circuit

United States Bankruptcy Court, Western           November 10,2016
District of Washington

United States District Court, Western District    February 27,2012
of Washington

United States District Court, Eastern District    April23,2012
of Washington
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                    Certificate of Good Standing

State of Oregon               )
                              ) ss.
County of Washington          )

       I, Troy Wood, do hereby certify that I am Regulatory Counsel of the Oregon State Bar, and
have access to the official files and records of the Oregon State Bar.

        The official files and records of the Oregon State Bar indicate:

                                       DAVID PEREZ, BAR NO. 231841

was admitted to practice law in the State of Oregon by comity and became an active member of
the Oregon State Bar on June 16, 2023.

     There are no grievances or disciplinary proceedings presently pending against this
member.

      No disciplinary action has been taken against this member in the past by the Oregon
Supreme Court or the Oregon Disciplinary Board.

        Mr. Perez is an active member of the Oregon State Bar in good standing, licensed and
entitled to practice law in all the courts of the State of Oregon.

        DATED this 16th day of June, 2023.


                                                      ____________________________________
                                                      Troy Wood
                                                      Regulatory Counsel
                                                      Oregon State Bar


*This certificate expires 60 days from the date of issuance*



        16037 SW Upper Boones Ferry Road, PO Box 231935, Tigard, Oregon 97281-1935
        (503) 620-0222 toll-free in Oregon (800) 452-8260 fax (503) 684-1366          ww.osbar.org
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    IN THE SUPREME COURT OF THE STATE OF WASHINGTON

                                                           )
      IN THE MATTER OF THE ADMISSION                       )                    BAR NO. 43959
                                                           )
                           OF                              )                    CERTIFICATE
                                                           )
                   DAVID A. PEREZ                          )                           OF
                                                           )
TO PRACTICE IN THE COURTS OF THIS STATE                    )                  GOOD STANDING
                                                           )
____________________________________________



          I, Sarah R. Pendleton, Deputy Clerk of the Supreme Court of the State of Washington, hereby
certify


                                           DAVID A. PEREZ

was regularly admitted to practice as an Attorney and Counselor at Law in the Supreme Court and all the

Courts of the State of Washington on September 15, 2011, and is now and has continuously since that

date been an attorney in good standing, and has a current status of active.



                                                       IN TESTIMONY WHEREOF, I have
                                                       hereunto set my hand and affixed
                                                       the seal of this Court on the 16th day of
                                                       June, 2023.



                                                       Sarah R. Pendleton
                                                       Supreme Court Deputy Clerk
                                                       Washington State Supreme Court
